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 6
 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA,          )
                                      )
11              Plaintiff,            )                   CASE NO.      06-495 M
                                      )
12         v.                         )
                                      )
13 JACKSON RONALDO DA CONCEICAO, )                        DETENTION ORDER
                                      )
14              Defendant.            )
   __________________________________ )
15
     Offense charged:
16
               Count I:      Conspiracy to Commit Document Fraud, in violation of Title 18,
17
                             U.S.C., Sections 1028(a)(1), 1028(b)(1)(A)(ii), 1028(c)(3), and
18
                             1028(f).
19
     Date of Detention Hearing:     September 26, 2006.
20
               The Court, having conducted an uncontested detention hearing pursuant to Title
21
     18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
22
     detention hereafter set forth, finds that no condition or combination of conditions which the
23
     defendant can meet will reasonably assure the appearance of the defendant as required and
24
     the safety of any other person and the community. The Government was represented by
25
     Doug Whalley for Ye-Ting Woo. The defendant was represented by Kevin Peck.
26


     DETENTION ORDER
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                The defendant stipulates to detention, reserving the right to re-visit the matter of
 1
     detention should the Bureau of Immigration and Customs Enforcement (BICE) detainer be
 2
     lifted.
 3
           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 4
                (1)    The defendant represents a risk of nonappearance due to the following:
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                       He is a citizen and national of Brazil who is reportedly in the United
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                       States illegally; his ties to the Western District of Washington are
 7
                       unknown/unverified; and BICE has filed a detainer.
 8
                (2)    The defendant represents a risk of danger due the nature of the
 9
                       charges and his unknown background.
10
                (3)    The defendant does not contest detention.
11
     Thus, there is no condition or combination of conditions that would reasonably assure
12
     future court appearances.
13
                It is therefore ORDERED:
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                (l)    Defendant shall be detained pending trial and committed to the custody
15
                       of the Attorney General for confinement in a correctional facility
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                       separate, to the extent practicable, from persons awaiting or serving
17
                       sentences, or being held in custody pending appeal;
18
                (2)    Defendant shall be afforded reasonable opportunity for private
19
                       consultation with counsel;
20
                (3)    On order of a court of the United States or on request of an attorney for
21
                       the Government, the person in charge of the correctional facility in
22
                       which Defendant is confined shall deliver the defendant to a United
23
                       States Marshal for the purpose of an appearance in connection with a
24
                       court proceeding; and
25
     ///
26
     ///

      DETENTION ORDER
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           (4)   The clerk shall direct copies of this order to counsel for the United
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                 States, to counsel for the defendant, to the United States Marshal, and to
 2
                 the United States Pretrial Services Officer.
 3
           DATED this 26th day of September, 2006.



                                             A
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                                             Monica J. Benton
 7                                           U.S. Magistrate Judge
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     DETENTION ORDER
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